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                                      UNITED STATES DISTRICT COURT
        10
                                   SOUTHERN DISTRICT OF CALIFORNIA
        11
        12    UNITED STATES OF AMERICA,                       Case No.: 22MJ8604
        13
                                          Plaintiff,          COMPLAINT FOR VIOLATION OF:
        14
                     V.                                       Title 21 U.S.C. §§ 952 and 960
        15                                                    Importation of a Controlled Substance
        16    Maria SANTORI-Valtierra,                        (Felony)
        17                                Defendant.
        18
        19
        20          The undersigned complainant being duly sworn states:
        21
                 On or about August 23, 2022, within the Southern District of California, defendant,
        22
        23 Maria SANTORI-Valtierra, did knowingly and intentionally import a mixture or substance

        24 containing a detectable amount of methamphetamine, a Schedule II Controlled Substance,
        25
              into the United States from a place outside thereof, in violation of Title 21, United States
        26
        27 Code, Sections 952 and 960, a felony.

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 1         The complainant states that this complaint is based on the attached Statement of

 2 Facts incorporated herein by reference.
 3
 4
5                                                Special Agent Justin Adams
 6                                               Homeland Security Investigations
 7         Sworn and attested to under oath by telephone, in accordance with Federal Rule of
 8
     Criminal Procedure 4.1, this 24th day of August, 2022.
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 l UNITED STATES OF AMERICA
 2                V.
   Maria SANTORI-Valtierra
 3
 4                             STATEMENT OF FACTS
 5
           This Complaint and Statement of Facts is based on the reports, documents, and notes
 6
 7 furnished to United States Homeland Security Investigations Special Agent J. Adams.
 8         On August 23, 2022, at approximately 11 :20 a.m., Maria SANTORI-Valtierra,
 9
     (SANTOR!), a United States Citizen, applied for entry into the United States from Mexico
10
11 through the Calexico, California East Port of Entry in vehicle primary lane #3. SANTO RI
12 was the driver, sole occupant, and registered owner of a 2015 Nissan Sentra (the vehicle)
13
     bearing California license plates.
14
15         In vehicle primary, Customs and Border Protection Officers (CBPO) obtained a

16 negative customs declaration from SANTOR!. The CBPO received a computer-generated
17
     alert when SANTORI's information was queried and the CBPO noted SANTOR! appeared
18
19 nervous. When asked, SANTOR! reported that she was traveling to a job interview. The

20 CBPO elected to send SANTOR! and the vehicle to the Vehicle Secondary (VS) area for
21
     further inspection.
22
23         Prior to the VS area, the vehicle was scanned utilizing an X-ray machine and the

24 CBPO reviewing the images detected anomalies in the doors and quarter panels of the
25
     vehicle. Thereafter, a Canine Enforcement Team was conducting Secondary Inspection
26
27 Operations when the Human and Narcotic Detection Dog alerted to the driver's side door

28 panel of the vehicle.

                                                3
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           Further inspection of the vehicle resulted in the discovery of 13 8 packages concealed
 1
 2 in the floorboard, door panels, and quarter panels of the vehicle, with a total approximate
 3
     weight of 70.4 kilograms (155.2 pounds). A sample of the substance contained within the
 4
 5 packages field tested positive for the characteristics of methamphetamine.
 6         SANTORI was placed under arrest. SANTORI was advised of her Miranda Rights.
 7
     SANTOR! acknowledged her rights and agreed to speak to Agents without an attorney
 8
 9 present. During a post-Miranda interview, SANTOR! claimed that she had no knowledge
10 of the presence of the narcotics in her vehicle upon crossing into the United States.
11
           SANTORI was arrested and charged with a violation of Title 21, United States Code,
12
13 952 and 960, for importation of a controlled substance, and was booked into the GEO-El
14 Centro Federal Facility to await initial appearance.
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